
Pennington, J.
— It appears to me, that this was not only very disorderly and unwarrantable conduct on the part of some of the jurors, but that it was prejudicial to the defendant below, against whom the verdict was rendered, and that the judgment, for that cause ought to be reversed. It may be proper here to observe, that although Mr. Armstrong bears the reputation of a very respectable worthy man, and I believe very deservedly too, yet that his con*670duct in finding a verdict against his own opinion, under the circumstances of the case, cannot be justified; he was right to agree to come into court; but when he was in, he ought to have informed the court of the conduct of his fellow jurymen. The court, in that case, would have given relief, by fining the jurors who had misbehaved, and discharging the jury from farther consideration the cause, and ordering a new trial.
Judgment reversed.
